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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



  THE DAILY WIRE, LLC et al.,

                 Plaintiffs,

         v.                                     Civil Action No.: 6:23-cv-00609 (JDK)
  UNITED STATES DEPARTMENT
  OF STATE, et al.,

                 Defendants.



                                   JOINT STATUS REPORT

        Pursuant to the Court’s March 31, 2025 Order, ECF No. 105, the parties respectfully submit

 the below Joint Status Report and Motion for an Order Requiring a Further Joint Status Report to

 be filed by August 29, 2025.

        1.      This case was stayed from December 23, 2024 to July 3, 2025, due to factual

 developments regarding the Department of State’s (“the Department”) activities as relevant to

 Plaintiffs’ claims. See ECF Nos. 99 & 105. Specifically, as the parties previously explained, the

 Global Engagement Center (“GEC”)—the focus of a significant portion of Plaintiffs’ Complaint—

 terminated on December 23, 2024 by operation of law pursuant to section 1287(j) of the National

 Defense Authorization Act for Fiscal Year 2017 (P.L. 114-328), as amended by section 1284 of the

 John S. McCain National Defense Authorization Act for Fiscal Year 2019 (P.L. 115-232). See,

 e.g., ECF No. 104 ¶ 2. Additionally, Defendants had previously informed the Court that on

 December 6, 2024, the Department had transmitted a notification to Congress regarding its plan

 for the then-forthcoming termination of the GEC and its plan to realign the GEC’s staff and funding

 to other Department offices and bureaus for foreign information manipulation and interference


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 activities in the event that the termination occurs. See id. Finally, the parties explained that the

 change in Administration may affect the nature and scope of any resolution of this case, and that

 on January 20, 2025, President Trump issued Executive Order 14149, “Restoring Freedom of

 Speech and Ending Federal Censorship,” 90 Fed. Reg. 8,243 (Jan. 20, 2025). See id. ¶¶ 1-2. That

 Executive Order reflects the position of the United States and provides that, among other things,

 “[n]o Federal department, agency, entity, officer, employee, or agent may act or use any Federal

 resources in a manner contrary to” § 2 of the Executive Order, which provides in turn, among other

 things, in § 2(c), that “[i]t is the policy of the United States” to “ensure that no taxpayer resources

 are used to engage in or facilitate any conduct that would unconstitutionally abridge the free speech

 of any American citizen.”

          2.      Following the GEC’s termination, and consistent with its notification to Congress,

 the Department began the realignment of staff and the reprogramming of funding from the GEC

 to a new office that was called the Counter Foreign Information Manipulation and Interference

 Hub (“R/FIMI Hub”).

          3.      Since the parties’ last update to the Court, Defendants informed Plaintiffs that the

 Department undertook a policy and programming review of the work of the R/FIMI Hub, the

 successor to the GEC, to ensure alignment with President Trump’s priorities and Executive Order

 14149.        As a result of that review, the R/FIMI Hub has now been closed.                      See

 https://www.state.gov/protecting-and-championing-free-speech-at-the-state-department/.

          4.      Defendants represent that the R/FIMI Hub did not issue any new grants or other

 awards during its brief existence, and all of its former employees, including contractors, have either

 been terminated or placed on administrative leave pending imminent implementation of a

 reduction in force. To the Department’s knowledge, there are no outstanding or otherwise active




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 awards issued by the former GEC, and the Department has no current initiatives or planned future

 initiatives related to the work of the former GEC. Defendants informed Plaintiffs of these

 developments by letter on June 30, 2025.

        5.      Media Plaintiffs’ understanding, however, is that resources GEC developed that

 disparage the Media Plaintiffs’ reputation and abridge their First Amendment rights remain

 available both publicly and internally.

        6.      Additionally, Media Plaintiffs remain concerned that Defendants have to date not

 addressed the ultra vires activities previously undertaken by the State Department separate and

 apart from the GEC, including the funding of media literacy programs that disparage and denigrate

 Media Plaintiffs.

        7.      Further, Media Plaintiffs represent that Defendants’ current voluntary cessation of

 the alleged ultra vires and unconstitutional conduct leaves Plaintiffs concerned that such conduct

 could be restarted.

        8.      As noted in their previous report, the parties have begun settlement discussions.

 See ECF No. 104 ¶ 4. Plaintiffs provided a written settlement proposal to Defendants on March

 26, 2025. Defendants are currently working expeditiously to prepare a written counter-offer, which

 they anticipate providing to Plaintiffs by July 25, 2025, if not sooner. Defendants have informed

 Plaintiffs that preparing a counter-offer requires multiple levels of Department of Justice and

 agency review, and Defendants’ timeline has been impacted in part due to significant staffing

 turnover on this matter, including at the Department of Justice and agency level.

        9.      Accordingly, in light of the parties’ ongoing settlement discussions and the

 additional intervening developments described above, see supra ¶¶ 2-4, all parties agree that

 further discovery or briefing at this time would not be an efficient use of Court or party resources.




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 Consistent with the Court’s Order, see ECF No. 105 at 1, the parties do not seek a further stay of

 this matter and instead respectfully move the Court to order that they file a further status report by

 August 29, 2025, advising the Court of the status of their settlement discussions and proposing a

 schedule for further proceedings as appropriate.

        10.     While the parties do not seek a further stay, Media Plaintiffs represent that if a

 settlement is not reached, additional discovery may be needed. It is possible that a preliminary

 injunction may no longer be necessary in light of recent developments, but as explained above, the

 Media Plaintiffs assert ongoing harm. Plaintiffs’ agreement not to seek continuation of the stay is

 not an agreement that the discovery they previously sought will not be needed if settlement

 discussions fail.

        11.     Setting the next status report for August 29, 2025 is expected to allow sufficient

 time for Plaintiffs to review and respond to Defendants’ forthcoming counter-proposal, to allow

 for further negotiation between the parties, to account for pre-scheduled annual leave of

 Government employees involved in the handling of this matter, and, if necessary, for the parties to

 confer regarding the need for any further discovery. A proposed order accompanies this motion.

        12.     Counsel for all parties met and conferred regarding this status report by video

 conference on July 2, 2025. All parties agree to the proposal made above.

 DATED: July 10, 2025                                   Respectfully submitted,

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